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                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                              UNITED STATES DISTRICT COURT                               December 10, 2022
                               SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                   HOUSTON DIVISION


DAVID MCGREGOR, et al.,                           §
                                                  §
         Plaintiffs,                              §
                                                  §
VS.                                               §   CIVIL ACTION NO. 4:22-CV-01782
                                                  §
FAY SERVICING, LLC, et al.,                       §
                                                  §
         Defendants.                              §

         ORDER ON PLAINTIFFS’ APPLICATION FOR INJUNCTIVE RELIEF

        Came to be heard the plaintiffs’ application for temporary restraining order and preliminary

injunction (Dkt. No. 11). Having reviewed the file, the application and response, and having heard

the arguments of the parties, the Court is of the opinion that the application is not well founded. It

is therefore,

        ORDERED, ADJUDGED AND DECREED that the plaintiffs’ application for injunctive

relief is DENIED.

        It is so ORDERED.

        SIGNED on December 9, 2022, at Houston, Texas.


                                                       _________________________________
                                                       Kenneth M. Hoyt
                                                       United States District Judge




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